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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION


                                                          Action No: 3:17CV00072
  Elizabeth Sines, et al                                  Date: 1/4/2019
  vs.                                                     Judge: Joel C. Hoppe
                                                          Court Reporter: H. Wheeler/FTR
  Jason Kessler, et al
                                                          Deputy Clerk: Heidi N. Wheeler



  Plaintiff Attorney(s)                            Defendant Attorney(s)
  Gabrielle Tenzer                                 James Kolenich
  Alan Levine                                      Robert Ray ( party defendant )
  David Mills                                      John DiNucci
  Roberta Kaplan



                                     LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                           DEFENDANT:
  1.                                              1.



  PROCEEDINGS:
  TELEPHONIC MOTION/DISCOVERY HEARING 2:04-2:42=38 min

  Court will address several matters with parties-Motion to Withdraw, Discovery deadlines;
  Suggestion of Bankruptcy

  Arguments heard

  Remarks by Court

  Order will issue
